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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
The Alegra Collection, LLC
a Florida Limited Liability Company

       Plaintiff
-v-
                                                      Case No.:
CNC Motors, Inc.
a California Corporation

Clayton Thom; and

Joseph Firmapaz

      Defendantx
________________________________________/

                                COMPLAINT FOR DAMAGES

       Plaintiff The Alegra Collection, LLC (“Alegra” or “Plaintiff”), by and through the

undersigned counsel, hereby files this Complaint against Defendants CNC Motors, Inc., Clayton

Thom; and Joseph Firmapaz (collectively “Defendants”) and states as follows:

                                        INTRODUCTION

       1.      This is in an action in contract and tort involving the sale of a 2017 Mercedes G550

4X4 Squared and Defendants failure to deliver title following the sale.

       2.      Ultimately, Alegra has discovered that Defendants are participating in a scheme

whereby Defendants Thom, Firmapaz, and other employees of CNC obtain luxury vehicles from

across the United States (including Florida) to consign for various consignors. Defendants then

find purchasers to purchase the vehicles (such as Alegra). The purchasers then purchase the

vehicles from Defendants. However, the Defendants do not pay the consignor their money after

the sale. Thereby leaving the bona-fide purchasers without the title to their vehicles, rending their

newly purchased vehicles useless.
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                                  JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction under 28 U.S.C. §1332 because there is

a diversity of citizenship, and the amount of the damages and injunctive relief sought has a

monetary value exceeding $75,000.00.

        4.      This Court has personal jurisdiction over Defendants under Florida Long Arm

Statute, §48.193 (1)(a)(1),(2),(6)(b),(7) and §48.193(2).

        5.      Defendants have committed a tort within the State, breached a contract which

required performance in the State, used property which originated from the State, and have caused

an injury to Plaintiff within the State.

        6.      Venue in this District is proper pursuant to 28 U.S.C. §1391(b)(2) the breach and

injury occurred within this District.

                                            PARTIES
        7.      Plaintiff, The Alegra Collection, LLC is a limited-liability company organized and

existing under the laws of the State of Florida, with its principal place of business in Hillsborough

County, Florida. The member(s) of Alegra are residents and/or domiciled in the State of Florida.

Accordingly, Alegra is a citizen of the State of Florida.

        8.      Defendant, CNC Motors, Inc. (“CNC”) is a corporation organized and existing

under the laws of the State of California, with its principal place of business in San Bernardino

County, California. CNC is a citizen of the State of California.

        9.      Defendant, Clayton Thom (“Thom”), is a resident of the state of California residing

in either San Bernardino County, California or Los Angeles County, California.

        10.     Defendant, Joseph Firmapaz (“Firmapaz”), is a resident of the state of California

residing in either San Bernardino County, California or Los Angeles County, California.

        11.     There is complete diversity of citizenship.


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                                  FACTUAL BACKGROUND

       12.      Alegra is a licensed automobile dealer pursuant to Florida Statute §320.27

operating in Tampa, Florida.

       13.      On or around December 04, 2020, Alegra purchased a 2017 Mercedes G550 4X4

Squared Vin WDCYC5FF5HX274746 (the “Vehicle”) from Defendant CNC Motors, and their

President and Sales representatives Defendants Clayton Thom and Joseph Firmapaz respectively.

       14.      Specifically, on or around December 04, 2020 Alegra wired $225,000.00 to

Defendant CNC for the Vehicle (the “Wire”). A copy of the Wire transfer receipt is attached hereto

as Exhibit A.

       15.      On or around January 04, 2021, Alegra went to CNC Motors to pick up the Vehicle.

       16.      When Alegra arrived at CNC to pick up the Vehicle, Defendants did not have the

title to the Vehicle ready. However, Defendants promised to specifically deliver the title for

the Vehicle to Tampa, Florida.

       17.      Defendants indicated they would even drive the title to Tampa, Florida if needed.

       18.      Alegra as a licensed automobile dealer cannot sell a vehicle without proper title.

       19.      Throughout January through March, 2021, Alegra would frequently follow up with

Defendants to advise on the status and Defendants would not promptly respond or provide various

excuses.

       20.      Defendants despite repeated demands refuse to provide title to the Vehicle; leaving

Alegra having a Vehicle that is essentially a large and expensive storage container.

       21.      Alegra has since discovered that Defendants are participating in a scheme whereby

Defendants Thom, Firmapaz, and other employees of CNC obtain luxury vehicles to consign for




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various consignors. Defendants then find purchasers to purchase the vehicles (such as Alegra). The

purchasers then purchase the vehicles from Defendants. However, the Defendants do not pay the

consignor their money after the sale. Thereby leaving the bona-fide purchasers without the title to

their vehicles, rending their newly purchased vehicles useless. Examples of this scheme are

attached hereto as Exhibit B.

       22.     Further, on March 22, 2021, Alegra was advised that the Vehicle still had a lien of

approximately $190,000 which Alegra presumes is as a result of Defendants failure to pay the

Vehicle’s Consignor.

       23.     Alegra has been damaged because Alegra does not have clean title to the Vehicle it

purchased from Defendants.

       24.     All conditions precedent prior to bringing this action have been met.

                                          COUNT I
                                        CONVERSION

       25.     Alegra realleges paragraphs 1 through 24.

       26.     Defendants knowingly and intentionally converted the Vehicle by keeping the

proceeds for themselves from Alegra and refusing to provide the Title to Alegra.

       27.     Alegra was damaged as a result of Defendants’ conversion of the Vehicle.

       WHEREFORE, tAlegra requests that the Court enter a judgment (i) awarding Alegra

damages, prejudgment interest, and costs against Defendants, and (ii) granting such further relief

as the Court deems just and proper.




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                                            COUNT II
                                             FRAUD

       28.     Alegra realleges paragraphs 1 through 24.

       29.     Defendants knowingly and intentionally engaged in a scheme whereby Defendants

would lure prospects luxury vehicles from across the United States (such as from Florida) to place

in their dealership on consignment.

       30.     Defendants then procure buyers from across the United States (such as Alegra) for

these luxury vehicles. After the buyer arrives at the dealership, the Defendants sell the vehicles to

the applicable buyer who leaves CNC with the vehicle.

       31.     However, the Defendants do not then pay the consignor for their vehicle, creating

a situation where the consignor, consignor’s lender, and buyer are holding the bag while

Defendants keep the funds for themselves. Further, this scheme prevents title to the vehicles from

ever transferring.

       32.     Defendants have damaged Alegra as a result of the scheme.

       WHEREFORE, Alegra requests that the Court enter a judgment (i) awarding Alegra

damages, prejudgment interest, and costs against Defendants, and (ii) granting such further relief

as the Court deems just and proper.

                                          COUNT III
                                     BREACH OF CONTRACT

       33.     Alegra realleges paragraphs 1 through 24.

       34.     After failing to provide the title initially, Defendants agreed to deliver the title to

Alegra for the Vehicle in Florida.

       35.     Defendants took monies from Alegra.

       36.     Defendants failed to deliver the Title to Alegra in Florida.




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       37.     Alegra has been damaged as a result of Defendants’ failure to provide the title.

       WHEREFORE, the Alegra requests that the Court enter a judgment (i) awarding Alegra

damages, prejudgment interest, and costs against Defendants, and (ii) granting such further relief

as the Court deems just and proper.

                                            CONCLUSION

       WHEREFORE The Alegra Collection, LLC demands judgment against against Defendants

CNC Motors, Inc., Clayton Thom; and Joseph Firmapaz. for damages, attorney's fees, costs and

expenses of this action.

                                                    s/Adam Hersh/
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